                             United States District Court
                           Western District of North Carolina
                                  Asheville Division

TERRANCE L. JAMES-BEY,                 )             JUDGMENT IN CASE
                                       )
              Plaintiff,               )               1:19-cv-00020-MR
                                       )
                 vs.                   )
                                       )
KENNETH LASSITER, et al.,              )
                                       )
            Defendants.                )



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s December 6, 2021 Memorandum of Decision and Order.

                                               December 6, 2021




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